       17-23511-rdd             Doc 5         Filed 09/29/17             Entered 09/29/17 17:10:19        Main Document
                                                                         Pg 1 of 9


                                                                                                                            Revised 7/1/13

DELBELLO DONNELLAN WEINGARTEN
WISE & WIEDERKEHR, LLP
Attorneys for the Debtor
One North Lexington Avenue
White Plains, NY 10601
Phone: (914) 681-0200
Dawn Kirby, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------------X
 In re
                                                                              Case No.: 17-23511
                                                                              FIRST AMENDED
Jeffrey Paul Moskowitz                                                        CHAPTER 13 PLAN


                                                             Debtor(s).
 SSN: xxx-xx-7147                      SSN:
---------------------------------------------------------------------X

Plan Definitions: If this is a joint case, use of the term "Debtor" shall also mean Debtors. The term "Trustee" shall always refer to
Jeffrey L. Sapir, the Chapter 13 Standing Trustee for this court, or his substitute. The term "Bankruptcy Rule" shall refer to the
Federal Rules of Bankruptcy Procedure. The term "Local Rule" shall refer to the Local Rules of Bankruptcy Procedure of the
United States Bankruptcy Court for the Southern District of New York. The term "Petition" refers to Debtor’s bankruptcy petition
filed with the court on September 29, 2017 . The term "Real Property Used as a Principal Residence" includes cooperative
apartments.

  This is an Amended or Modified Plan. The reasons for filing this Amended or Modified Plan are:Commitment period from 60
months to 36 months.

In all respects, this Plan shall comply with the provisions of the Bankruptcy Code, Bankruptcy Rules and Local Rules.

Section A                    The future earnings of Debtor are submitted to the supervision and control of the Trustee. Debtor will
Plan Payments and            make the first Plan payment no later than thirty (30) days after the date this Petition was filed. The Debtor
Payment Duration             shall make 36 monthly payments to the Trustee as follows:

                                  $ 180.00 each month, from 10/29/2017 through 09/29/2022 .

                                      Lump-sum payment(s) in the following amount(s): NONE

                                       All tax refunds in excess of $1500 (less any cash exemptions in the first year, if applicable).
                                       Pursuant to 11 U.S.C. § 1325(b)(4), the applicable commitment period is 60 months, or
                                       Pursuant to 11 U.S.C. § 1325(b)(4), the applicable commitment period is 36 months.
                                       Debtor's annual commitment period is 36 months and Debtor moves to extend to 60 months for
                                       the following reasons: (check all that apply)
                                       Debtor is not able to propose a feasible plan in a period of less than 60 months. Debtor's
                                       proposed monthly payment will constitute an affordable budget that the Debtor will be able to
                                       maintain.
                                       Payments greater than that proposed by this plan for 60 months would create an economic
                                       hardship for the Debtor.
                                       Creditors will not be prejudiced by this application for extension of Debtor's plan payments from
                                       36 to 60 months.
         17-23511-rdd                 Doc 5           Filed 09/29/17   Entered 09/29/17 17:10:19                Main Document
                                                                       Pg 2 of 9




Payment Terms                     The Debtor will pay the amounts listed above to the Trustee by bank check, certified check, teller’s check,
                                  or money order sent to the following address:

                                        Jeffrey L. Sapir, Esq., Chapter 13 Trustee
                                        399 Knollwood Road, Suite 102
                                        White Plains, New York 10603

                                  OPTIONAL: Debtor may pay his or her Plan payments to the Trustee by way of an employer pay order,
                                  pursuant to 11 U.S.C. § 1325(c). If Debtor selects this option, please check here:

                                  Upon selecting this option, Debtor hereby consents to the immediate entry of an order directing Debtor’s
                                  employer to deduct from Debtor’s wages the amount specified in this section and transmit that amount
                                  directly to the Trustee on Debtor’s behalf. Debtor also agrees to notify the Trustee immediately upon
                                  change or termination of employment. A proposed order outlining Debtor’s intention shall be submitted to
                                  the court for consideration upon the filing of this Plan.

                                     Non-Debtor Contributions. Identify the source and monthly amount to be contributed to the Plan from
                                  any person or entity other than the Debtor (a "Non-Debtor Contributor"): .

                                  Prior to confirmation of this Plan, each Non-Debtor Contributor must either (1) file an affidavit with the
                                  court confirming the amounts that will be contributed to the Plan or (2) consent to entry of an employer
                                  pay order for the amount to be contributed to the Plan.

Section B                         Pursuant to 28 U.S.C. § 586(e), the Trustee may collect the percentage fee from all payments and property
Trustee's Fee                     received, not to exceed 10%.

Section C                            By checking this box and completing this section, the Debtor requests loss
Loss Mitigation                   mitigation pursuant to Local Rule 9019-2, which establishes a court-ordered loss mitigation program,
(Optional)                        pursuant to which parties may deal with issues such as a loan modification, loan refinance, short sale, or
This section applies              surrender in full satisfaction, concerning the Debtor's Real Property Used as a Principal Residence. List
only to the Debtor's              the property and/or the Secured Creditor(s) below:
Real Property Used
as a Principal
Residence.                        The Debtor hereby permits the Secured Creditor(s) listed above to contact (check all that apply):
                                        The Debtor directly.
                                        Debtor's bankruptcy counsel.
                                        Other:

                                  (Debtor is not required to dismiss this bankruptcy Petition during the loss mitigation discussions. Any
                                  agreement reached during the loss mitigation discussions may be approved pursuant to an amended plan,
                                  and the terms may be set forth in Section H, below.)

Section D                         Except as otherwise ordered by the court, the Trustee will make disbursements to creditors after the court
Treatment of Claims               enters an order confirming this Plan. Unless otherwise provided in Section H (below), disbursements by
                                  the Trustee shall be pro rata as outlined below.
  See Section H,
Varying Provisions.

Category 1                        Attorney's fees. Counsel for the Debtor has received a prepetition retainer of
Attorney's Fees                   $ 5,500.00 , to be applied against fees and costs incurred. Fees and costs exceeding
pursuant to 11 U.S.C              the retainer shall be paid from funds held by the Chapter 13 Trustee as an administrative expense after
§ 507(a)(2).                      application to and approval by the court pursuant to Bankruptcy Rule 2016.

    Not Applicable.



                                                                          -2-
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                                                                         Pg 3 of 9




Category 2                        Category 2 applies only to claims secured by a mortgage on the Debtor's Real Property Used as a
Claims Secured by a               Principal Residence.
Mortgage on the
Debtor's Real                     Category 2 Definitions: For the purposes of this Category 2, any reference to the term "Secured Creditor"
Property Used as a                means mortgagees, a creditor whose interest is secured by a mortgage on Debtor's real property, a holder
Principal Residence               and/or servicer of a claim secured by a lien, mortgage and/or deed of trust and/or any other similarly
                                  situated creditor, servicing agent and/or their assigns. The term "Mortgage" shall include references to
    Not Applicable.               mortgages, liens, deeds of trust and any other similarly situated interest in the Debtor’s Real Property
                                  Used as a Principal Residence. The term "Contract" shall refer to any contract or similar agreement
  See Section H,                   pertaining to the Mortgage. The term "Prepetition Arrearages" shall refer to an amount owed by the
Varying Provisions.               Debtor to the Secured Creditor prior to the filing of Debtor’s petition. The term "Post-Petition Payment"
                                  means any payment that first becomes due and payable by the Debtor to the Secured Creditor after the
                                  filing of the petition pursuant to the Mortgage or Contract.

                                  Confirmation of this Plan shall impose an affirmative duty on the Secured Creditor and Debtor to do all of
                                  the following, as ordered:

                                  (a) Prepetition Arrearages.

                                  (i) For purposes of this Plan, Prepetition Arrearages shall include all sums included in the allowed claim
                                  and shall have a "0" balance upon entry of the Discharge Order in this case. In the event that a Secured
                                  Creditor listed in this section fails to timely file a proof of claim in this case, by this Plan the Debtor shall
                                  be deemed to have timely filed a proof of claim on behalf of each such Secured Creditor pursuant to 11
                                  U.S.C. § 501(c), in the amount set forth below in Section D, Category 2(a)(iv).

                                  (ii) No interest will be paid on Prepetition Arrearages unless otherwise stated.

                                  (iii) Payments made by the Trustee on Debtor’s Prepetition Arrearages shall be applied only to those
                                  Prepetition Arrearages and not to any other amount owed by Debtor to the Secured Creditor.

                                  (iv) Information Regarding the Arrearages.

                                   Secured Creditor &                Value of Collateral and                     Arrearage        Arrearage Owed
                                   Property Description              Valuation Method                             Amount                    As Of
                                   -NONE-

                                  (v) If Debtor pays the amount(s) specified in section (iv) (above), while making all required Post-Petition
                                  Payments (see below), Debtor’s mortgage will be reinstated according to its original terms, extinguishing
                                  any right of the Secured Creditor to recover any amount alleged to have arisen prior to the filing of
                                  Debtor’s petition.

                                  (b) Post-Petition Payments.

                                  Debtor shall pay the following Post-Petition Payments directly to the Secured Creditor listed below
                                  during the pendency of the Plan:

                                   Secured Creditor &
                                   Property Description                                               Payment Amount              Payment Timing
                                   -NONE-

                                  A Secured Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section
                                  must comply with Section E, below, with regard to any Notice of Contract Change (as defined in Section
                                  E) or other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor shall make
                                  the Post-Petition Payments in the amount set forth on the most recent Notice of Contract Change or other
                                  applicable notice as required by Section E or Bankruptcy Rule 3002.1.


                                                                            -3-
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                                                                       Pg 4 of 9




                                  (c) Return and/or Reallocation of Distribution Payment Made to Secured Creditor.

                                  If a Secured Creditor withdraws its claim, the sum allocated towards the payment of the Secured
                                  Creditor’s claim shall be distributed by the Trustee to Debtor’s remaining creditors. If the Secured
                                  Creditor has received monies from the Trustee (Distribution Payment) and returns those monies to the
                                  Trustee, the monies returned shall be distributed to the Debtor’s remaining creditors. If Debtor has
                                  proposed a plan that repays his or her creditors in full, then these monies will be returned to the Debtor.

                                  (d) Important Additional Provisions

                                  Secured Creditors in Category 2 must comply with the "Additional Terms Applicable to Creditors and
                                  Secured Creditors" in Section E, below, regarding the following: (1) any claim for additional amounts
                                  during the pendency of the Debtor’s case due to a change in the terms of the Mortgage; (2) any claim for
                                  Outstanding Obligations (defined below) that may arise during the pendency of the Debtor’s case; or (3)
                                  any claim for compensation of services rendered or expenses incurred by the Secured Creditor during the
                                  pendency of the Debtor’s case. Failure to comply with Section E may result in disallowance of such
                                  claims.

Category 3                        Pursuant to 11 U.S.C. § 1322(b), Debtor assumes or rejects the following unexpired lease(s) or executory
Executory Contracts               contract(s). For an executory contract or unexpired lease with an arrearage to cure, the arrearage will be
& Unexpired Leases                cured in the Plan with regular monthly payments to be paid directly to the creditor or landlord
                                  ("Creditor")
                                  by the Debtor. The arrearage amount will be adjusted to the amount set forth in the Creditor’s proof of
    Not Applicable                claim, unless an objection to such amount is filed, in which event it shall be adjusted to the amount
                                  allowed by the court.
  See Section H,
Varying Provisions.
                                  (a) Assumed.

                                   Creditor &                                                  Estimated Arrearage             Arrearage Through
                                   Property Description                                                   Amount                            Date
                                   -NONE-

                                  (b) Rejected.

                                   Creditor &                                                  Estimated Arrearage             Arrearage Through
                                   Property Description                                                   Amount                            Date
                                   -NONE-

                                  (c) Post-Petition Payments for Assumed Executory Contracts and Unexpired Leases

                                  Debtor shall make the following Post-Petition Payments directly to the Creditor:

                                   Creditor &
                                   Property Description                                           Payment Amount                 Payment Timing
                                   -NONE-

                                  A Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section must
                                  comply with Section E, below, with regard to any Notice of Contract Change (as defined in Section E) or
                                  other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor shall make the
                                  Post-Petition Payments in the amount set forth on the most recent Notice of Contract Change or other
                                  applicable notice as required by Section E or Bankruptcy Rule 3002.1.




                                                                         -4-
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         17-23511-rdd                 Doc 5           Filed 09/29/17   Entered 09/29/17 17:10:19                  Main Document
                                                                       Pg 5 of 9




                                  (d) Important Additional Provisions.

                                  Creditors in Category 3 must comply with the "Additional Terms Applicable to Creditors and Secured
                                  Creditors" in Section E, below, regarding any of the following: (1) any claim for additional amounts
                                  during the pendency of the Debtor’s case due to a change in the terms of the executory contract or
                                  unexpired lease; (2) any claim for Outstanding Obligations (defined below) that may arise during the
                                  pendency of the Debtor’s case; or (3) any claim for compensation of services rendered or expenses
                                  incurred by the Creditor during the pendency of the Debtor’s case. Failure to comply with Section E may
                                  result in disallowance of such claims.

Category 4                        Category 4 applies to claims secured by personal property, a combination of personal and real property,
Claims Secured by                 and real property not used as the Debtor’s principal residence.
Personal Property, a
Combination of                    Category 4 Definitions: The term "Secured Claim" shall refer to claims secured by personal property, a
Personal and Real                 combination of personal and real property, and real property not used as the Debtor’s principal residence.
Property, and Real                For purposes of this Category 4, any reference to the term "Secured Creditor" shall include, in addition to
Property Not Used as              the definition of Secured Creditor in Category 2, any creditor whose interest is secured by an interest in
Debtor's Principal                any of the Debtor’s property.
Residence
    Not Applicable

  See Section H,                  (a) List of Category 4 Claims.
Varying Provisions.
                                  Pursuant to 11 U.S.C. § 1325(a), the Secured Creditor listed below shall be paid the amount shown as
                                  their Secured Claim under this Plan. However, if the amount listed in the Secured Creditor’s proof of
                                  claim is less than the amount of the Secured Claim listed below, the lesser of the two amounts will be
                                  paid. In the event that a Secured Creditor listed below fails to timely file a proof of claim in this case, by
                                  this Plan the Debtor shall be deemed to have timely filed a proof of claim on behalf of each such Secured
                                  Creditor, in the amount set forth below.

                                                                                          Value of Collateral           Amount To
                                   Creditor &                                             and Valuation                 Be Paid on     Interest
                                   Property Description                Debt Amount        Method                            Claim       Rate
                                   -NONE-


                                  (b) Adequate Protection.

                                  If applicable, adequate protection shall be provided as follows:

                                  (c) Post-Petition Payments.

                                  Debtor shall pay the following Post-Petition Payments directly to the Secured Creditor listed below
                                  during the pendency of the Plan:

                                   Secured Creditor &
                                   Property Description                                                 Payment Amount          Payment Timing
                                   -NONE-

                                  A Secured Creditor receiving Post-Petition Payments directly from the Debtor pursuant to this section
                                  must comply with Section E, below, with regard to any Notice of Contract Change (as defined in Section
                                  E) or other applicable notice as required by Section E or Bankruptcy Rule 3002.1. The Debtor shall make
                                  the Post-Petition Payments in the amount set forth on the most recent Notice of Contract Change or other
                                  applicable notice as required by Section E or Bankruptcy Rule 3002.1.



                                                                          -5-
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                                                                       Pg 6 of 9




                                  (d) Return and/or Reallocation of Distribution Payment Made to Secured Creditor.

                                  If a Secured Creditor withdraws its claim, the sum allocated towards the payment of the Secured
                                  Creditor’s claim shall be distributed by the Trustee to Debtor’s remaining creditors. If the Secured
                                  Creditor has received monies from the Trustee (Distribution Payment) and returns those monies to the
                                  Trustee, the monies returned shall be distributed to the Debtor’s remaining creditors. If Debtor has
                                  proposed a plan that repays his or her creditors in full, then these monies will be returned to the Debtor.

                                  (e) Important Additional Provisions.

                                  In addition to any requirements set forth in any applicable Bankruptcy Rules, Secured Creditors in
                                  Category 4 must comply with the "Additional Terms Applicable to Creditors and Secured Creditors" in
                                  Section E, below, regarding the following: (1) any claim for additional amounts during the pendency of
                                  the Debtor's case due to a change in the terms of the Contract; (2) any claim for Outstanding Obligations
                                  (defined below) that may arise during the pendency of the Debtor's case; or (3) any claim for
                                  compensation of services rendered or expenses incurred by the Secured Creditor during the pendency of
                                  the Debtor's case. Failure to comply with Section E may result in disallowance of such claims.

Category 5                        All allowed claims entitled to pro rata priority treatment under 11 U.S.C. § 507 shall be paid in full in the
Priority, Unsecured               following order:
Claims
                                  (a) Unsecured Domestic Support Obligations.
    Not Applicable.
                                  Debtor shall remain current on all such obligations that come due after filing the Debtor’s Petition.
                                  Unpaid
  See Section H,                  obligations incurred before the Petition date are to be cured by the Plan payments.
Varying Provisions.
                                   Creditor Status                                                                             Estimated Arrearages
                                   -NONE-

                                  (b) Other Unsecured Priority Claims.

                                   Creditor                                Type of Priority Debt                                     Amount Owed
                                   Catherine Quiblier                      Domestic support obligations                                       0.00

Category 6                        Category 6 Definition: The term "Codebtor" refers to      .
Codebtor Claims
  Not Applicable.                 The following Codebtor claims are to be paid pro rata until the allowed amounts of such claims
  See Section H,                  are paid in full.
Varying Provisions.
                                   Creditor                                    Codebtor Name                              Estimated Debt Amount
                                   -NONE-

Category 7                        Allowed unsecured, nonpriority claims shall be paid pro rata from the balance of payments made under
Nonpriority,                      the Plan.
Unsecured Claims.

    Not Applicable.

  See Section H,
Varying Provisions.




                                                                         -6-
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         17-23511-rdd                 Doc 5           Filed 09/29/17   Entered 09/29/17 17:10:19                  Main Document
                                                                       Pg 7 of 9




Section E                         Section E Definitions: The definitions in Section D also apply to this Section. The term "Agreement"
Additional Terms                  includes any executory contract, unexpired lease, Mortgage (as defined in Section D) or Contract (as
Applicable to                     defined in Section D).
Creditors and
Secured Creditors                 I. SECURED CREDITOR WITH SECURITY INTEREST IN DEBTOR'S PRINCIPAL RESIDENCE.
                                  A Secured Creditor with a security interest in the Debtor's principal residence shall comply with the
                                  provisions of Bankruptcy Rule 3002.1, including the timely filing of the notices required by subdivisions
                                  (b) and (c) of Bankruptcy Rule 3002.1and the statement required by subdivision (g) of that rule. A
                                  Secured Creditor's compliance with the provisions of Bankruptcy Rule 3002.1 satisfies any duty to
                                  provide notice under this Section E.

                                  II. CREDITOR OR SECURED CREDITOR WITH SECURITY INTEREST IN PROPERTY OTHER
                                  THAN THE DEBTOR'S PRINCIPAL RESIDENCE.

                                  (1) Notice of Contract Change.

                                  (a) At any time during the pendency of Debtor’s case, a Creditor or Secured Creditor must file on the
                                  Claims Register and serve upon the Trustee, Debtor, and Debtor’s counsel (if applicable), at least thirty
                                  (30) days before the change is to take place, or a payment at a new amount is due, a notice (the "Notice of
                                  Contract Change") outlining any change(s) in the amount owed by Debtor under any Agreement,
                                  including any change(s) in the interest rate, escrow payment requirement, insurance premiums, change in
                                  payment address or other similar matters impacting the amount owed by Debtor under such Agreement
                                  (each a "Contract Change"). Additional amounts owed by the Debtor due to a Contract Change may be
                                  disallowed by the Court to the extent the amounts (i) were not reflected in a Notice of Contract Change
                                  filed as required by this subsection, and (ii) exceed the amount set forth in the proof of claim filed by the
                                  Creditor or Secured Creditor or deemed filed under this Plan.

                                  (b) Within thirty (30) days of receipt of the Notice of Contract Change (defined above), Debtor shall
                                  either adjust the Post-Petition Payment to the amount set forth in the Notice of Contract Change, or file a
                                  motion with the court, objecting to the payment amount listed in the Notice of Contract Change and the
                                  stating reasons for the objection.

                                  (c) The provisions set forth in this article are in addition to any requirements set forth in any applicable
                                  Bankruptcy Rules.

                                  (2) Notice of Outstanding Obligations.

                                  (a) At any time during the pendency of the Debtor’s case, a Creditor or Secured Creditor shall file on the
                                  Claims Register and serve upon the Trustee, Debtor, and Debtor’s counsel (if applicable) a notice
                                  containing an itemization of any obligations arising after the filing of this case that the Creditor or
                                  Secured Creditor believes are recoverable against the Debtor or against the Debtor’s property (the
                                  "Outstanding Obligations"). Outstanding Obligations include, but are not limited to, all fees, expenses, or
                                  charges incurred in connection with any Agreement, such as any amounts that are due or past due related
                                  to unpaid escrow or escrow arrearages; insurance premiums; appraisal costs and fees; taxes; costs
                                  associated with the maintenance and/or upkeep of the property; and other similar items. Within thirty (30)
                                  days after the date such Outstanding Obligations were incurred, a Notice of Outstanding Obligations shall
                                  be filed on the Claims Register, sworn to by the Creditor or Secured Creditor pursuant to 28 U.S.C. §
                                  1746, referencing the paragraph(s) (or specific section(s) and page number(s)) in the Agreement that
                                  allows for the reimbursement of the services and/or expenses.

                                  (b) The Debtor reserves the right to file a motion with the court, objecting to the amounts listed in the
                                  Notice of Outstanding Obligations and stating the reasons for the objection. The bankruptcy court shall
                                  retain jurisdiction to resolve disputes relating to any Notice of Outstanding Obligations.

                                  (c) The provisions set forth in this article are in addition to any requirements set forth in any applicable
                                  Bankruptcy Rules.
                                                                          -7-
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         17-23511-rdd                 Doc 5           Filed 09/29/17   Entered 09/29/17 17:10:19                 Main Document
                                                                       Pg 8 of 9




                                  III. APPLICATION FOR REIMBURSEMENT OF COSTS AND FEES OF PROFESSIONALS.

                                  Pursuant to Bankruptcy Rule 2016 and Local Rule 2016-1, and in addition to any required notice or
                                  statement to be filed under Bankruptcy Rule 3002.1 (if applicable) or this Section E, a Creditor or Secured
                                  Creditor must file an application with the court if it wishes to be compensated from the Debtor or the
                                  estate for services rendered or expenses incurred by its professionals after Debtor’s filing of this Petition
                                  and before the issuance of the Notice of Discharge. The application shall include a detailed statement
                                  setting forth (1) the services rendered, time expended and expenses incurred, and (2) the amounts
                                  requested. The application shall include a statement sworn to by the Creditor or Secured Creditor pursuant
                                  to 28 U.S.C. § 1746 that references the paragraph number(s) (or specific section(s) and page number(s))
                                  in the Agreement that allows for the reimbursement of the services and/or expenses. A Creditor or
                                  Secured Creditor may request approval of multiple fees and expenses in a single application, and any
                                  application under this subsection must be filed not later than thirty (30) days after the issuance of the
                                  Notice of Discharge in this case. Failure to comply with the provisions in this subsection may result in
                                  disallowance by the Court of such fees and expenses. The Debtor reserves the right to object to any
                                  application filed under this subsection. This subsection will not apply to the extent that the court has
                                  previously approved a Creditor or Secured Creditor’s fees or expenses pursuant to an order or conditional
                                  order.

Section F                         Except those expunged by order after appropriate notice pursuant to a motion or adversary proceeding, a
Lien Retention                    Secured Creditor shall retain its liens as provided in 11 U.S.C. § 1325(a).

Section G                         Debtor surrenders the following property and upon confirmation of this Plan or as otherwise ordered by
Surrendered Property              the court, bankruptcy stays are lifted as to the collateral to be surrendered.

    Not Applicable.
                                   Claimant                                                      Property To Be Surrendered
                                   -NONE-

Section H                         The Debtor submits the following provisions that vary from the Local Plan Form, Sections (A) through
Varying Provisions                (G):
                                        -NONE-

Section I                         (1) Tax Returns. While the case is pending, the Debtor shall timely file tax returns and pay taxes or
Tax Returns                       obtain appropriate extensions and send a copy of either the tax return or the extension to the Trustee
Operating Reports                 pursuant to 11 U.S.C. § 521(f) within thirty (30) days of filing with the taxing authority.
and Tax Refunds
                                  (2) Operating Reports. If Debtor is self-employed or operates a business either individually or in a
                                  corporate capacity, Debtor shall provide the Trustee with monthly operating reports throughout the
                                  entirety of the case.

                                  (3) Tax Refunds. The Debtor may voluntarily elect to contribute tax refunds as lump-sum payments in
                                  Section A of this Plan. Unless the Debtor has proposed a plan that repays his or her creditors in full, the
                                  court may order the Debtor to contribute a portion of the tax refunds to the Plan. The amount to be
                                  contributed shall be determined by the court on a case-by-case basis.

Section J                         Debtor will cure any funding shortfall before the Plan is deemed completed.
Funding Shortfall




                                                                         -8-
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         17-23511-rdd                 Doc 5           Filed 09/29/17      Entered 09/29/17 17:10:19            Main Document
                                                                          Pg 9 of 9




Section K                         (1) Insurance. Debtor shall maintain insurance as required by law, contract, security agreement or Order
Debtor's Duties                   of this court.

                                  (2) Payment Records to Trustee. Debtor shall keep and maintain records of payments made to Trustee.

                                  (3) Payment Records to Secured Creditor(s). Debtor shall keep and maintain records of post-petition
                                  payments made to Secured Creditor(s).

                                  (4) Donation Receipts. Where applicable, Debtor shall keep a record of all charitable donations made
                                  during the pendency of this case and maintain receipts received.

                                  (5) Domestic Support Obligation(s). Debtor shall maintain a record of all domestic support obligation
                                  payments paid directly to the recipient pursuant to a separation agreement, divorce decree, applicable
                                  child support collection unit order or other court’s order. The Debtor must also complete and sign the
                                  "Certification Regarding Domestic Support Obligations" required by General Order M-338. The
                                  Certification should be returned to the Trustee when submitting the last payment under this Plan.

                                  (6) Change in Address. Debtor must notify the court and the Trustee if the address or contact information
                                  changes during the pendency of the case. Notification must be made in writing within fifteen (15) days of
                                  when the change takes place.

                                  (7) Disposal of Property. Debtor shall not sell, encumber, transfer or otherwise dispose of any Real
                                  Property or personal property with a value of more than $1,000 without first obtaining court approval.

                                  (8) This plan or amended plan has been served on all creditors more than 28 days, plus 3 additional
                                  days if service is by mail, before confirmation hearing. A certificate of service as required by
                                  Bankruptcy Rule 2002(b) and Local Bankruptcy Rules 3015-1(c) and 9078-1 has been filed.

Debtor's Signature                Dated:           White Plains NY
                                                   September 29, 2017

                                   /s/ Jeffrey Paul Moskowitz
                                   Jeffrey Paul Moskowitz
                                                             Debtor                                                   Debtor

                                   16 Rivers Edge Drive, Apartment 307
                                   Tarrytown NY 10591-0000
                                                            Address                                                  Address

 Attorney's                        /s/ Dawn Kirby                                              September 29, 2017
 Signature                         Dawn Kirby                                                                          Date
                                                    Attorney for Debtor

Attorney                          I, the undersigned attorney for the Debtor, hereby certify that the foregoing chapter 13 Plan conforms to
Certification                     the pre-approved chapter 13 plan promulgated pursuant to [Local Bankruptcy Rule _____] of the United
                                  States Bankruptcy Court for the Southern District of New York

                                   /s/ Dawn Kirby                                              September 29, 2017
                                   Dawn Kirby                                                                          Date
                                                    Attorney for Debtor




                                                                           -9-
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